Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.137 Page 1 of 82




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  Attorney for Plaintiff Shen Engineers, Inc.


                            IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


   SHEN ENGINEERS, INC., a Utah Corporation,                          SECOND AMENDED
                                                                         COMPLAINT
                  Plaintiff,
          vs.                                                            JURY DEMAND

   RICHARD BRIGHTON, an individual, d/b/a                         Case No. 2:22-cv-00624-CMR
   BRIGHTON ARCHITECTURAL GROUP,
                                                                  Judge Cecilia M. Romero
                  Defendant.



         Plaintiff Shen Engineers, Inc. (“Shen”) hereby alleges against Defendant Richard

  Brighton, d/b/a Brighton Architectural Group (“Brighton”) as follows:

                                                PARTIES

         1.      Plaintiff Shen is a Utah corporation having a principal place of business in Salt

  Lake County, Utah.

         2.      On information and belief, Defendant Richard Brighton is an individual residing

  in Summit County, Utah.
Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.138 Page 2 of 82




                                   JURISDICTION AND VENUE

           3.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1338(a).

  Personal jurisdiction is present, as Defendant resides in this district and the actions alleged herein

  occurred in this district. Supplemental jurisdiction is provided over the state law claims pursuant

  to 28 U.S.C. § 1367.

           4.    Venue is proper under 28 U.S.C. §§ 1391 and 1400(a), as Defendant resides or is

  found in this district and the actions complained of occurred in this district.

                                    GENERAL ALLEGATIONS

           5.    Shen is a professional engineering firm which provides, among other things,

  architectural engineering services to house designers and architects.

           6.    Shen has been providing engineering services to the public in Utah for more than

  25 years.

           7.    Architects and home designers create the floor plans and elevations for a building

  they desire to be built. Structural engineers like Shen then perform the engineering calculations

  to ensure that the building has proper structural support and will otherwise be structurally sound.

  The structural engineers then produce engineering plans with instructions and drawings on how

  to build the structure to ensure that the building will be structurally sound.

           8.    If a building which has been engineered by an engineering firm were to collapse,

  the engineering firm is likely to be sued and may face considerable liability.

           9.    Brighton provides architectural services under the name Brighton Architectural

  Group.


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Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.139 Page 3 of 82




         10.     In 2017 Brighton contracted with Shen to provide engineering plans for five

  architectural plans that Brighton designed. A copy of engineering plans titled Highstar Cabin

  2500 is attached hereto as Exhibit A.

         11.     A copy of engineering plans titled Highstar Cabin 2800 is attached hereto as

  Exhibit B.

         12.     A copy of engineering plans titled Highstar Cabin 2050 is attached hereto as

  Exhibit C.

         13.     A copy of the engineering plans titled Highstar Cabin 3300 is attached hereto as

  Exhibit D.

         14.     A copy of the engineering plans titled New Cabin is attached hereto as Exhibit E.

         15.     At no time has Shen ever been an employee of Brighton.

         16.     Brighton has never paid taxes on behalf of Shen,

         17.     Brighton has not controlled the location, work hours or means of Shen preparing

  its engineering plans.

         18.     Brighton and Shen did not have a written instrument signed by them that any of

  Shen’s work shall be considered a work made for hire.

         19.     Houses based on Brighton’s architectural plans were intended to be built in

  Kamas, Utah.

         20.     Shen’s standard agreement allows his clients to use Shen’s engineering plans for a

  single building. Each subsequent use requires the payment of a reuse fee and Shen confirms that




                                                  3
Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.140 Page 4 of 82




  the engineering plans are appropriate for the second or subsequent building as any modifications

  may require modification to the engineering plans.

            21.   Brighton paid for engineering plans for each of the five architectural plans

  Brighton created and later paid Shen for one reuse for each of two different engineering plans.

            22.   Unbeknownst to Shen, Brighton assisted his client in obtaining permits to build

  approximately twenty additional homes using Shen’s engineering plans.

            23.   As part of that effort, Brighton made photocopies of Shen’s engineering plans so

  that they could be used to acquire building permits for Brighton’s client to build the additional

  houses.

            24.   Brighton’s architectural plans for the subsequent houses were not provided to

  Shen and Shen was not able to confirm that the engineering plans that Shen created for the

  original plans were appropriate for the subsequent Brighton architectural plans.

            25.   On information and belief, Brighton made more than twenty photocopies of

  Shen’s engineering plans and used them without Shen’s permission so that Brighton’s client

  could obtain building permits.

            26.   Brighton charged Highstar five thousand dollars ($5000.00) for a reuse fee for

  each of his plans, but failed to pay Shen a reuse fee each time Brighton copied Shen’s

  engineering plans and provided them to Highstar.

            27.   On information and belief, Brighton left Shen’s name on each set of engineering

  plans Brighton made – thereby giving the false impression that Shen was endorsing the structural

  worthiness of each of the houses.


                                                   4
Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.141 Page 5 of 82




         28.     On information and belief, if Shen’s name and associated information had not

  been on the copied engineering plans, they would not have been usable to obtain building

  permits.

         29.     Brighton’s conduct has created likelihood of confusion as to Shen’s endorsement

  of the photocopied engineering plans and may result in Shen being sued for engineering plans

  which were used without Shen’s permission.

         30.     On information and belief, Brighton charged his client for reuse of Brighton’s

  architectural plans and Shen’s engineering plans for each of the subsequent houses built.

                                                 COUNT I

                             (Copyright Infringement, 17 U.S.C. § 501)

         31.     Plaintiff realleges the allegations set forth above as if fully set forth herein.

         32.     Shen is the owner of U.S. Copyright Registration No. VA 2-316-352 (the ‘352

  registration) for technical drawings titled Highstar Cabin 2500. A copy of the registration

  certificate is attached hereto as Exhibit F.

         33.     Shen is the owner of U.S. Copyright Registration No. VA 2-319-648 (the ‘648

  registration) for technical drawings titled Highstar Cabin 2800. A copy of the registration

  certificate is attached hereto as Exhibit G.

         34.     Shen is the owner of U.S. Copyright Registration No. VA 2-319-674 (the ‘674

  registration) for technical drawings titled Highstar Cabin 2050. A copy of the registration

  certificate is attached hereto as Exhibit H.




                                                    5
Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.142 Page 6 of 82




          35.     Shen is the owner of U.S. Copyright Registration No. VA 2-330-718 (the ‘718

  registration) for technical drawings titled Highstar Cabin 3300. A copy of the registration

  certificate is attached hereto as Exhibit I.

          36.     Shen is the owner of U.S. Copyright Registration No. VA 2-300717 (the ‘717

  registration) for technical drawings titled New Cabin 2050. A copy of the registration certificate

  is attached hereto as Exhibit J.

          37.     Shen is the owner of U.S. Copyright Registration No. TX 9-169-886 (the ‘886

  registration) for the text contained in the engineering plans for Highstar Cabin 2500. A copy of

  the registration certificate is attached hereto as Exhibit K.

          38.     The Highstar Cabin 2500 technical drawings are the engineering plans prepared

  for Brighton’s architectural plans for the “Summit” design.

          39.     The Highstar Cabin 2800 technical drawings are the engineering plans prepared

  for Brighton’s architectural plans for the “Uinta” design.

          40.     The Highstar Cabin 2050 technical drawings are the engineering plans prepared

  for Brighton’s architectural plans for the “Gateway” design.

          41.     The Highstar Cabin 3300 technical drawings are the engineering plans prepared

  for Brighton’s “Wasatch” design.

          42.     The Highstar 2500 text is the explanations used in the plans prepared for

  Brighton’s architectural plans for the Summit design and derivatives thereof are used in the other

  engineering plans created for Brighton by Shen.




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Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.143 Page 7 of 82




         43.     Brighton had access to the Highstar Cabin 2500 technical drawings and the text as

  Shen charged Brighton $2500 for a set of the engineering plans and provided the plans to

  Brighton.

         44.     Brighton paid Shen $1250 for one reuse of the Highstar 2500 engineering plans.

         45.     Brighton had access to the Highstar Cabin 2800 technical drawings as Shen

  charged Brighton for a set of the engineering plans and provided the plans to Brighton.

         46.     Brighton had access to the Highstar Cabin 2050, Highstar Cabin 3300 and New

  Cabin technical drawings as Shen charged Brighton for a set of the engineering plans and

  provided the plans to Brighton.

         47.     On information and belief, Brighton made approximately fifteen photocopies of

  the Highstar Cabin 2500 engineering plans without Shen’s permission and used them to obtain

  building permits for houses based on Brighton’s architectural plans.

         48.     On information and belief, Brighton made at least three photocopies of the

  Highstar Cabin 2800 engineering plans without Shen’s permission and used them to obtain

  building permits for houses based on Brighton’s architectural plans.

         49.     On information and belief, Brighton made at least four photocopies of the

  Highstar Cabin 2050 engineering plans without Shen’s permission and used them to obtain

  building permits for houses based on Brighton’s architectural plans.

         50.     On information and belief, Brighton made at least two photocopies of the

  Highstar 3300 engineering plans without Shen’s permission and used them to obtain building

  permits for houses based on Brighton’s architectural plans.


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Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.144 Page 8 of 82




           51.   On information and belief, Brighton made photocopies not accounted for above

  which used the text from the Highstar Cabin 2500 engineering plans, or derivatives thereof,

  without Shen’s permission and used them to obtain building permits for houses based on

  Brighton’s architectural plans.

           52.   The photocopies made by Brighton were substantially similar to the originals

  created by Shen.

           53.   Wherefore, Shen makes a claim against Brighton for copyright infringement.

                                              COUNT II

                                    (False Endorsement, 15 U.S.C. § 1125(a))

           54.   Shen realleges the preceding paragraphs and further alleges:

           55.   Shen has been operating as Shen Engineers, Inc. in Utah for more than 23 years

  and has common law rights in the name Shen Engineers, Inc.

           56.   Shen marks its work product with its name so that the public associates Shen with

  its work.

           57.   Brighton made more than twenty copies of engineering plans created by Shen and

  pared them with architectural plans drawn by Brighton to obtain building permits.

           58.   Brighton used the Shen engineering plans to falsely suggest that Shen had

  approved the plans with which the Shen engineering plans were submitted.

           59.   The copies made by Brighton contain Shen’s name, creating a likelihood of

  confusion that Shen has endorsed the use of the engineering plans with Brighton’s architectural

  plans.


                                                   8
Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.145 Page 9 of 82




           60.   Shen was not given the opportunity to review the Brighton designs with which the

  Shen engineering plans were used and thus cannot verify that the Brighton plans are structurally

  sound.

           61.   Brighton’s conduct has exposed Shen to the risk of being sued if one of the

  houses built according to Brighton’s architectural plans were to collapse or be seriously

  damaged.

           62.   Wherefore, Shen makes a claim for false endorsement pursuant to the Lanham

  Act.

                                               COUNT III

                                         (Breach of Contract)

           63.   Shen realleges the preceding paragraphs and further alleges:

           64.   Shen provided engineering plans for architectural plans drawn by Brighton.

           65.   Pursuant to their agreement, Brighton was allowed a single use of each plan, with

  any additional uses requiring a reuse fee.

           66.   Brighton paid for the original engineering drawings and paid Shen reuse fees for

  one subsequent use of the engineering plans.

           67.   Brighton is familiar with reuse fees and charged Highstar a reuse fee of $5,000.00

  per reuse for his drawings, but failed to compensate Shen for the reuse of Shen’s engineering

  plans.

           68.   Thereafter, Brighton made approximately twenty copies of Shen’s engineering

  plans without informing Shen or paying the reuse fees.


                                                   9
Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.146 Page 10 of 82




         69.       Shen has requested Brighton to pay for the unauthorized uses, but Brighton has

  refused.

         70.       Wherefore, Shen makes a claim against Brighton for breach of contract.

                                              COUNT IV

                                          (Unjust Enrichment)

         71.       Shen realleges the preceding paragraphs and further alleges:

         72.       Brighton received a benefit by making copies of Shen’s work without Shen’s

  authorization.

         73.       Brighton was aware that Shen charges a reuse fee to use Shen’s work for

  additional structures.

         74.       On information and belief, Brighton charged his client reuse fees for uses of

  Shen’s work.

         75.       It would be unjust to allow Brighton to retain the benefit of using Shen’s work

  without Shen’s authorization and without compensation to Shen.

         76.       Wherefore, Shen makes a claim against Brighton for unjust enrichment.

         WHEREFORE, Plaintiff prays this Honorable Court:

         A.        For an award of damages for each infringement of Shen’s copyrights pursuant to

  17 U.S.C. § 504 in an amount of: (1) Shen’s actual damages, and (2) for Defendant’s profits.

         B.        For an impoundment order requiring that all infringing works be destroyed.

         C.        For an injunction barring Defendant from ever again making copies of Shen’s

  engineering plans without authorization.


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Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.147 Page 11 of 82




         D.        For an award of damages caused by Brighton’s use of Shen’s name to create a

  false endorsement.

         E.        For injunctive relief against Brighton from using Shen’s name or work without

  authorization.

         F.        For damages for Brighton’s breach of contract.

         G.        For an award to Shen for Brighton’s unjust enrichment.

         H.        For such other relief as the Court considers just.

         I.        Plaintiff demands a trial by jury on all matters so triable.

         DATED: _______________.

                                                      BATEMAN IP


                                                      /s/ Randall B. Bateman
                                                      Randall B. Bateman

                                                      299 South Main Street, Suite 1300
                                                      Salt Lake City, UT 84111

                                                      Attorney for Plaintiff Shen Engineers, Inc.




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Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.148 Page 12 of 82




                                   CERTIFICATE OF SERVICE

         I hereby certify that I served a copy of the foregoing First Amended Complaint on

  counsel for Defendant via First Class Mail and email as follows on __________:



  Robert Aycock
  William Chadwick
  KIMBALL ANDERSON
  649 E. South Temple, 2nd Floor
  Salt Lake City, UT 84102


  Robert@kimballanderson.com

  Will@kimballanderson.com

                                             /s/ Randall B. Bateman




                                                12
Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.149 Page 13 of 82




                         EXHIBIT A
Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.150 Page 14 of 82




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Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.151 Page 15 of 82




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Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.152 Page 16 of 82




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Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.153 Page 17 of 82




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Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.154 Page 18 of 82




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Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.155 Page 19 of 82




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Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.156 Page 20 of 82




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Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.157 Page 21 of 82




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Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.158 Page 22 of 82




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Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.159 Page 23 of 82




                             EXHIBIT B
Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.160 Page 24 of 82




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Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.161 Page 25 of 82




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Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.162 Page 26 of 82




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Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.163 Page 27 of 82




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Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.164 Page 28 of 82




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Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.165 Page 29 of 82




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Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.166 Page 30 of 82




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Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.167 Page 31 of 82




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Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.168 Page 32 of 82




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Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.169 Page 33 of 82




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Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.170 Page 34 of 82




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Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.171 Page 35 of 82




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Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.172 Page 36 of 82




                             EXHIBIT C
Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.173 Page 37 of 82




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Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.174 Page 38 of 82




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Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.175 Page 39 of 82




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Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.176 Page 40 of 82




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Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.177 Page 41 of 82




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Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.178 Page 42 of 82




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Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.179 Page 43 of 82




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Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.180 Page 44 of 82




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Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.181 Page 45 of 82




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Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.182 Page 46 of 82




                             EXHIBIT D
Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.183 Page 47 of 82




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Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.184 Page 48 of 82




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Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.185 Page 49 of 82




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Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.186 Page 50 of 82




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Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.187 Page 51 of 82




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Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.188 Page 52 of 82




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Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.189 Page 53 of 82




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Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.190 Page 54 of 82




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Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.191 Page 55 of 82




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Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.192 Page 56 of 82




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Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.193 Page 57 of 82




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Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.194 Page 58 of 82




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Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.195 Page 59 of 82




                             EXHIBIT E
Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.196 Page 60 of 82
Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.197 Page 61 of 82
Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.198 Page 62 of 82
Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.199 Page 63 of 82
Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.200 Page 64 of 82
Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.201 Page 65 of 82
Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.202 Page 66 of 82
Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.203 Page 67 of 82
Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.204 Page 68 of 82
Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.205 Page 69 of 82




                              EXHIBIT F
         Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.206 Page 70 of 82
       Certificate of Registration
                              This Certificate issued under the seal of the Copyright
                              Office in accordance with title 17, United States Code,
                              attests that registration has been made for the work
                              identified below. The information on this certificate has       Registration Number
                              been made a part of the Copyright Office records.
                                                                                              VA 2-316-352
                                                                                              Effective Date of Registration:
                                                                                              August 24, 2022
                                                                                              Registration Decision Date:
                              United States Register of Copyrights and Director               August 30, 2022




                   -----------------------------------------
   ,,....._.��Title .c.-C�_,_____-
                                  Title of Work:


            Completion/Publication
                           Year of Completion:      2017
                        Date of 1st Publication:    September 28, 2017
                       Nation of 1st Publication:   United States




                              •      Author:        Shen Engineers, Inc.
                              Author Created:       technical drawing
                           Work made for hire:      Yes
                                   Citizen of:      United States
                                 Domiciled in:      United States

            Copyright Claimant

'-----'-----------'-��- Copy.right Claimant:         hen.Engineers, Inc._       ----�---- _ �
                                                    2225 E. Murray-Holladay Road, #208, Salt Lake City, UT, 84117, United States

            Limitation of copyright claim

              Material excluded from this claim:    2-D artwork, the floor plans on pages 2.1-2.3 are not the property of Applicant

                New material included in claim:     2-D artwork, technical drawing, The work is a collection of drawings other than
                                                    excluded material derived from engineering drawings of Applicant dating back to
                                                    1999

             Rights and Permissions ______________________
                            Organization Name:      Shen Engineers, Inc.
                                         Name:      HUA SHEN
                                         Email:     sheneng@msn.com

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Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.207 Page 71 of 82
Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.208 Page 72 of 82




                             EXHIBIT G
Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.209 Page 73 of 82
Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.210 Page 74 of 82




                             EXHIBIT H
Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.211 Page 75 of 82
Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.212 Page 76 of 82




                              EXHIBIT I
Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.213 Page 77 of 82
Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.214 Page 78 of 82




                              EXHIBIT J
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           Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.215 Page 79 of 82




                                  Try the Copyright Public Records System (CPRS) pilot with enhanced
                                                      search features and filters.




         Public Catalog
         Copyright Catalog (1978 to present)
         Search Request: Left Anchored Name = Shen engineers
         Search Results: Displaying 6 of 6 entries




                                                            NEW CABIN.

                       Type of Work: Visual Material
         Registration Number / Date: VA0002330717 / 2022-08-24
                    Application Title: NEW CABIN.
                                Title: NEW CABIN.
                          Description: Electronic file (eService)
                Copyright Claimant: Shen Engineers, Inc. Address: 2225 E. Murray-Holladay Road, #208, Salt Lake City,
                                       UT, 84117, United States.
                    Date of Creation: 2019
                 Date of Publication: 2019-10-07
          Nation of First Publication: United States
          Authorship on Application: Shen Engineers, Inc., employer for hire; Domicile: United States; Citizenship: United
                                       States. Authorship: 2-D artwork, technical drawing.
               Pre-existing Material: technical drawings which have previously been published.
                      Basis of Claim: technical drawings and an arrangement of previously published technical drawings.
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1 of 2                                                                                                                 4/10/2023, 5:56 PM
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           Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.216 Page 80 of 82

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2 of 2                                                                                                              4/10/2023, 5:56 PM
Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.217 Page 81 of 82




                             EXHIBIT K
Case 2:22-cv-00624-HCN-DBP Document 18-1 Filed 04/10/23 PageID.218 Page 82 of 82
